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6

7
                            UNITED STATES DISTRICT COURT
8
                          SOUTHERN DISTRICT OF CALIFORNIA

9
      UNITED AFRICAN-ASIAN                    Case No: '24CV1380 BEN MPP
10    ABILITIES CLUB, ON BEHALF
11
      OF ITSELF AND ITS                       COMPLAINT
      MEMBERS; JAMES LEE, An
12    Individual                DISCRIMINATORY
13                              PRACTICES
                    Plaintiffs, [US Fair Housing Act of 1988 [42
14
                                U.S.C. §§ 3600 et seq, §3604(c),
15         v.                   §3604(f)(1-3), et seq.; CA
                                Government Code 12925, 12927,
16
      SOUTHEASTERN CALIFORNIA 12955; CA Civil Code §§ 51, 52,
17    CONFERENCE OF SEVENTH-    54.3
18
      DAY ADVENTISTS; AND DOES
      1 THROUGH 10, Inclusive   DEMAND FOR JURY TRIAL
19

20                        Defendants.
21                                    INTRODUCTION
22   1.    Plaintiffs make the following allegations in this civil rights action:
23                             JURISDICTION AND VENUE
24   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
25   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
26   apartment property consist of four (4) or more residential units), and 42 U.S.C. §
27   12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
28

                      1
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1
     United States District Court for the Southern District of California pursuant to 28
2
     U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
3
     Judicial District.
4
                              SUPPLEMENTAL JURISDICTION
5
     3.      This United States District Court for the Southern District of California has
6
     supplemental jurisdiction over the California state claims as alleged in this
7
     Complaint pursuant to 28 U.S.C. § 1367(a).
8
                   NAMED DEFENDANTS AND NAMED PLAINTIFFS
9
     4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
10
     entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
11
     Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
12
     Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
13
     Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
14
     to as the “named Plaintiffs” or “Plaintiffs”.
15
     5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
16
     good standing as a Nevada corporation. The named individual Plaintiff LEE is a
17
     member of the Plaintiff Club organization.
18
     6. Plaintiffs are informed, believe, and thereon allege that named Defendant
19
     SOUTHEASTERN CALIFORNIA CONFERENCE OF SEVENTH-DAY
20
     ADVENTISTS is the operator of the apartment rental business known as Villa Capri
21

22
     Apartments located at 4508 3rd Street La Mesa, CA 91941. Plaintiffs are informed,

23
     believe, and thereon allege that Defendant SOUTHEASTERN CALIFORNIA

24
     CONFERENCE OF SEVENTH-DAY ADVENTISTS, is the owner, operator, and/or

25
     lessor of the real property located at 4508 3rd Street La Mesa, CA 91941 (hereinafter

26
     referred to as the “Property”).

27
     7.     Defendant SOUTHEASTERN CALIFORNIA CONFERENCE OF

28

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1
     SEVENTH-DAY ADVENTISTS, is, and at all times mentioned herein were, a
2
     business or corporation or franchise, organized and existing and/or doing business
3
     under the laws of the State of California. Defendants Does 1 through 10, were at all
4
     times relevant herein subsidiaries, employers, employees, and/or agents of the named
5
     Defendants.
6
                                  CONCISE SET OF FACTS
7
     8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
8
     for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
9
     Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
10
     dates wherein he intended to go the Defendant’s Property to access Defendants’
11
     rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
12
     and communication barriers at Defendants’ Property. Plaintiff Lee determined that
13
     the open and obvious physical barriers that exist at Defendants’ Property directly
14
     related to his disabilities, and that it would be impossible or extremely difficult for
15
     him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
16
     Lee had knowledge of access barriers at the Property and determined that it would be
17
     futile gesture for him to go to the Property on the date that he had intended. The
18
     named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
19
     and communication barriers that exist at Defendants’ Property and also Defendants’
20
     website communication barriers. As used herein, website means any internet website
21
     where Defendants control the content. Exhibit B states the websites controlled by
22

23
     Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

24
     Defendants websites but experienced great difficulty due to Defendants’ failure to

25
     provide accessible website features.

26
     9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

27
     access Defendants’ online rental services, but had great difficulty due to his

28

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1
     disabilities. The named Individual Plaintiff Lee also could not determine from
2
     Defendants’ website content whether Defendants’ rental services at the property or
3
     off the property, and common areas at the property were physically accessible to
4
     him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
5
     obtain information regarding the physical accessibility of Defendants’ rental services
6
     at the property and off-site. In response to the named Individual Plaintiff’s request,
7
     Plaintiff Club sent one of its members to Defendants’ property. The named
8
     Individual Plaintiff personally reviewed all the information and photographs of
9
     Defendants’ property. As a result, the named Individual Plaintiff has actual
10
     knowledge of the overt and obvious physical and communication barriers to
11
     Defendants rental service at Defendants’ Property. The named Individual Plaintiff
12
     determined that the open and obvious physical barriers that exist at Defendants’
13
     Property directly related to his disabilities, and that it would be impossible or
14
     extremely difficult for him to physically access Defendants’ on-site rental services.
15
     See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
16
     that it would be futile gesture for him to go to the Property on the date that he had
17

18
     intended. The named Individual Plaintiff was deterred by his actual knowledge of

19
     the physical and communication barriers that exist at Defendants’ Property and

20
     website. The named Individual Plaintiff made a written request to Defendants’ for

21
     an accommodation to have equal access to Defendants’ rental services and to

22
     eliminate the communication and physical barriers to Defendants’ rental services,

23
     both online and at the property. At the end of this action, the named Individual

24
     Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to
25   obtain rental information and verify that the communication and physical barriers to
26   Defendants’ rental services are removed.
27

28

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1
     10.   The named Plaintiff Club is an organization that advocates on the behalf of its
2
     members with disabilities when their civil rights and liberties have been violated.
3
     Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment
4
     Property in June, 2024, and in August, 2024. The named Plaintiffs investigated
5
     Defendants apartment property and Defendants websites. Plaintiff Club member
6
     Sharon Riguer investigated the Property on the Internet websites. Additional
7
     Plaintiff Club members investigated Defendants websites and found that they did not
8
     provide equal access. The results of the research from Club Member Sharon Riguer
9
     are contained in the Exhibit B to this Complaint. Club members ascertained that
10
     Defendants’ rental services at Defendants Property were not physically accessible to
11
     Plaintiff Lee by a Club member with a disability who went to Defendants’ apartment
12
     Property, and said Club member attempted to access Defendants’ on-site rental
13
     services.
14
     11.   Plaintiff Club diverted its time and resources from its normal purposes
15
     because of Defendants’ service, policy, program and physical barriers to Defendants
16
     rental services at Defendants’ websites and Property. Club personnel conducted
17
     detailed Internet searches to determine if Defendants provide large print, deaf
18
     interpreter, therapy animal, the required reasonable accommodation policy, and
19
     required reasonable modification policy. Further, the Club retained contractors to
20
     investigate said policies, to survey the property, to photograph the property, to
21

22
     investigate when the Property was constructed, to investigate the Property ownership

23
     and to have an access report prepared. Plaintiff Club also diverted staff to

24
     investigate Defendants' Internet presence to determine compliance with the FHA and

25
     ADA. Plaintiff Club also investigated Defendants' written rental materials such as

26
     brochures, rental applications and leases. Moreover, Plaintiff Club made an oral

27
     investigation to ascertain Defendants' companion animal, deaf interpreter and

28

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1
     reasonable accommodation and reasonable modification policies. Plaintiff Club also
2
     caused a physical access consultant to be retained to survey Defendants' facility.
3
     Plaintiff Club’s findings regarding Defendants’ rental services and facilities were
4
     incorporated into an Access Report. The Access Report also details the known overt
5
     and obvious physical access violations at the Property, but it is not intended as an
6
     exhaustive list of existing violations. Due to these necessary activities to investigate,
7
     Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
8
     Club suffered injury and also suffered monetary damages due to the diversion of the
9
     Club’s resources from its normal purposes.
10
     12.   Plaintiffs allege that Defendants control, operate, and maintain website at
11
     https://www.rentvillacapri.com/ where Defendants offer its rental services.
12
     Additionally, Defendants provide rental services located at the Property.
13
     13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
14
     physical site rental services because the websites refer to Defendants’ rental services
15
     that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
16
     Plaintiffs allege that the websites are also places of public accommodation.
17
     Defendants control the websites to the extent that Defendants can change the website
18
     content to make modifications to comply with the FHA and ADA. Therefore,
19
     Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
20
     improve access for Plaintiffs and people with disabilities.
21

22
     14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a

23
     TTY number or the text messaging system for Plaintiffs and other people that are

24
     deaf or people with speech conditions. Plaintiff Club members have a speech

25
     disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their

26
     websites to eliminate non-readable text to allow the blind and people with low vision

27
     to use the screen reader software to access the information on the website, yet they

28

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1
     also failed to use large print on their websites. See Exhibit B to this Complaint.
2
     Plaintiffs assert that most popular screen reader programs are called Jobs Access
3
     With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions
4
     discriminate against Plaintiff Club, specifically Club members who have low vision
5
     disabilities. Each of the Club members above cannot use the websites controlled by
6
     the Defendants. Modifications to Defendants’ websites will not fundamentally alter
7
     the rental services provided and will also not cause an undue burden to Defendants,
8
     because the cost is less than One Thousand Dollars ($1,000).
9
     15.   On June 23, 2024, and on a second subsequent date, Plaintiff Club attempted
10
     to make a request to the Defendants for reasonable accommodation at the property.
11
     On July 30, 2024, the named individual Plaintiff LEE and Plaintiff Club emailed to
12
     the Defendants a written request for a reasonable accommodation. In July, 2024,
13
     Plaintiff LEE and Plaintiff Club, mailed a written request for a reasonable
14
     accommodation. Defendants failed to respond to both Plaintiffs requests for
15
     reasonable accommodation as of the date of the filing of this Civil Complaint.
16
     16.   Plaintiffs are not able to access Defendants rental services due to existing
17

18
     overt and obvious communication and physical barriers to access Defendants’ rental

19
     services both at its online website and at the property. Due to the overt and obvious

20
     physical barriers as alleged herein below, which are required to be removed,

21
     Plaintiffs requested that Defendants accommodate them to provide access to

22
     Defendants’ rental services.

23
     17.   The named Plaintiffs allege that an accommodation is also obvious when a

24
     whole group of the protected persons requires it. For example, when the public

25
     without disabilities are required to get up to a second level, the public would be very

26
     disturbed if they were required to request steps to go up to second level. When the

27

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1
     accommodation is specific to a particular person with a disability, then that person
2
     may be required to make a request, because the accommodation is not obvious.
3
     18.   Plaintiffs allege that they are not required to make a request for reasonable
4
     accommodation and for auxiliary aids when the barriers to communication are overt
5
     and obvious. However, in the present case, Plaintiffs did make such requests for
6
     accommodation to eliminate overt and obvious barriers to its rental services
7
     communications. Plaintiffs allege that providing effective contact information for
8
     Defendants’ rental services on the internet is an obvious accommodation. The
9
     general public does not need to request a contact number from the Defendant
10
     apartment owner or operator when they desire to rent a place. Defendants provide the
11
     contact number on their website. Therefore, Plaintiffs allege that Defendants are
12
     required to provide the obvious accommodation of effective communication for
13
     people that are deaf or with speech impediment on their website without a request.
14
     Defendants must make their rental services accessible without the need for a prior
15
     request. Furthermore, Defendants have a duty to remove architectural barriers and
16
     communication barriers to their rental services without request.
17
     19. Plaintiffs allege that there is disparate treatment on the internet related to the
18
     amenities being offered to people without disabilities and people with disabilities.
19
     All the below facts and the facts stated elsewhere herein have a disparate impact on
20
     the disability community. The named Plaintiffs experienced and have knowledge of
21

22
     the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant

23
     operates an apartment property. The property is located at 4508 3rd Street La Mesa,

24
     CA 91941. The property has 2 stories with 46 units. The rent is approximately:

25
     $2,150. The internet provides a wealth of information regarding the property. The

26
     internet advertises that the property has amenities that include: Recycling, On-Site

27
     Maintenance, Off Street Parking, Clubhouse, Refreshing Pool, Outdoor Grill &

28

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1
     Entertainment Area, Covered Parking, Laundry On-site, Gated Community, View,
2
     Patio/Balcony, Extra Storage, Vinyl Plank Flooring/Carpet , Air Conditioner/Heater,
3
     Large Walk In Closets, Ceiling Fan, Refrigerator, Disposal, Dishwasher, Spacious
4
     Open Floorplans, Pet Policy Cats - $400 additional unit deposit and $50 monthly fee
5
     per cat, Dogs - $400 additional unit deposit and $50 monthly fee per dog, Limit of
6
     two pets per apartment. Restrictions: The following dog breeds (full or mixed
7
     breeds) are not acceptable: Pit Bull, Staffordshire Terrier, Rottweiler, German
8
     Shepherd, Presa Canarios, Chow Chow, Doberman Pinscher, Akita, Wolf-Hybrid,
9
     Mastiff, Cane Corsos, Great Dane, Alaskan Malamute, Siberian Husky or any other
10
     breed management deems as restricted. Prohibited pets include, but are not limited
11
     to, reptiles, ferrets, pigs, rabbits, and monkeys. The property advertises on
12
     https://www.rentvillacapri.com/, rentcafe.com, zillow.com, trulia.com, realtor.com.
13
     It is very important to know that on https://www.rentvillacapri.com/, rentcafe.com,
14
     zillow.com, trulia.com, realtor.com, trulia.com there is the equal housing opportunity
15
     logo. The plaintiff alleges that there is disparate treatment on the internet related to
16
     the amenities being offered to people without disabilities and people with
17
     disabilities. For example, the tow signage was not installed. The accessible parking
18
     space had an access aisle, which was not van accessible. The aisle did not have the
19
     “no parking” included in the access aisle. The office had a high threshold. There was
20
     no International Symbol of Accessibility signage. The Internet does not state the
21

22
     accessible amenities at all. Also, the statement the “equal housing opportunity

23
     statement” is misleading. In fact, the property is not completely accessible. All the

24
     above facts and the facts stated herein have a disparate impact on the disability

25
     community.

26   20.   On Defendants’ websites, they allow the public without deafness and without
27   speech impairments to participate by providing them with a telephone number to
28

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 1
     call. However, Plaintiff Club members that are deaf and or with speech impairments
 2
     are denied equal access to participate because the Defendants do not have any
 3
     effective communication.
 4
     21.   Defendants provide websites for people without disabilities to benefit from the
 5
     rental services without going to the apartments to learn about the properties.
 6
     However, for people with disabilities that require the access to the facility, the
 7
     Defendants do not provide any information on the websites regarding if the rental
 8
     services located both on or off the property are accessible. Moreover, the Defendants
 9
     provide the telephone number for the public to call to inquire about the rental
10
     services without providing any effective alternative communications for Plaintiffs
11
     and other people that are deaf or have speech impairments.
12
     22.   For people without disabilities, the Defendants provide all of the information
13
     on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
14
     the Property to determine if it is accessible, then require them to request the effective
15
     communication, and then thereafter to request a reasonable accommodation to the
16
     overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
17

18
     and other people with disabilities to suffer a separate benefit.

19
     23.   Additionally, the named Plaintiffs are alleging photograph discrimination

20
     related to the physical access of each of the apartments within Exhibit B to this

21
     complaint. The purpose of Defendants’ internet photographs is to entice perspective

22
     renters to apply online or to contact the Defendants to rent a place. Defendants’

23
     internet photographs only entice people without mobility disabilities. Defendants’

24
     internet photographs exclude any photographs of any accessible features that would
25   aid the Plaintiffs. For example, there is no photograph of accessible parking. There
26   are no photographs of the accessible route to the rental services both on or off the
27   property. There are photographs of the accessible route to the rental services. There
28

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 1
     are no photographs related to the access to get into and use the rental services. There
 2
     are no photographs related to the accessible route of the common area. There are no
 3
     photographs of the accessible units. In fact, all the photographs lead a person with a
 4
     mobility disability to believe that the apartments are not accessible, or that they must
 5
     have someone go to the properties to make sure it is accessible. However, people
 6
     without disabilities are not required to go to the Property to see if it is accessible.
 7
     24.   Defendants websites and Defendants’ rental services are not integrated for
 8
     people with disabilities as required. Plaintiffs are required to request an
 9
     accommodation. People without disabilities can access the websites and the rental
10
     services without any problem, but Plaintiffs and other people with disabilities are
11
     required to request for separate rental services. People with mobility conditions are
12
     not integrated when using the websites because they must go to the apartments to
13
     determine if they are accessible, but people without disabilities need only access
14
     Defendants’ websites to determine they can use them. People that are blind and with
15
     low vision disabilities must request help to read the website information because the
16
     printed information is too small, but people without disabilities can access the
17

18
     websites without asking for help. Plaintiffs and other people with deafness or people

19
     with speech condition must ask for help calling the number on the websites, because

20
     Defendants fail to provide a TTY number to contact, or Defendants fail to provide a

21
     texting system. Defendants discriminated against the Plaintiffs.
     25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
22
     in June, 2024, and on a second subsequent date, to access the leasing office. The
23
     Named Individual Plaintiff has actual knowledge of Defendants’ overt and obvious
24
     physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’ Property
25
     on-site leasing office that this Named Individual Plaintiff intended to visit in June,
26
     2024, and on a second subsequent date, but this Plaintiff was deterred from accessing
27

28

                      11
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 1
     Defendant’s leasing office located on the Property. Defendants provide rental
 2
     information, rental applications, and other rental services on-site at the Property.
 3
     Defendants’ agents confirmed to the Plaintiffs that rental information, rental
 4
     applications, and other rental services were available on-site at the Property.
 5
     Defendants’ leasing office at the Property is not accessible. Defendants’ path of
 6
     travel from the sidewalk to the leasing office is not accessible since it has excessive
 7
     slopes without handrails and step changes in level along the path. There is an
 8
     excessive and steep slope without handrails that must be traversed to access the main
 9
     entrance door leading into the complex. This gated entrance door fails to have the
10
     required smooth and level landing of sufficient dimensions. The main entrance door
11
     leading into the complex fails to have the required smooth and uninterrupted surface
12
     at the bottom of the door. The operating hardware on the main entrance door is
13
     inaccessible. Defendant’s callbox is located too high to be accessible. Defendants
14
     do not provide the required directional signage as to the designated path of travel
15
     from the sidewalk to Defendant’s leasing office. Defendant’s leasing office entrance
16
     is not accessible due to a significant step change in level at the leasing office door
17
     threshold that is not beveled or ramped. Defendant’s leasing office entrance door
18
     fails to have the required smooth and level landing of sufficient dimensions.
19
     Defendant’s leasing office entrance door fails to have the required smooth and
20
     uninterrupted surface at the bottom of the door. The Named Individual Plaintiff has
21
     mobility disabilities and these step changes in level, excessive slopes, and the other
22
     stated issues cause the path of travel and the leasing office entry to be not accessible.
23
     Defendants failed to provide any directional signage indicating an alternate
24
     accessible path of travel to the leasing office. Defendants failed to provide the
25
     required fully compliant van accessible disabled parking for the leasing office.
26
     Defendants failed to provide a dimensionally compliant van accessible disabled
27
     parking space and disabled parking access aisle, the required disabled parking
28

                      12
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 1
     signage, including tow away signage, fine signage, ground markings, and failed to
 2
     locate said parking on a level surface and nearest the leasing office. Defendants also
 3
     failed to provide compliant tow away signage. The Named Individual Plaintiff
 4
     requires the use of a compliant van accessible disabled parking space to safely exit
 5
     and re-enter the vehicle. Defendants’ failure to provide the required compliant
 6
     disabled parking, disabled parking access aisle, disabled parking disability signage,
 7
     access aisle, and disability ground markings, such that the Named Individual Plaintiff
 8
     is not able to safely park at Defendants’ establishment since the individual Plaintiff
 9
     may be precluded from exiting or re-entering the vehicle if the disabled parking and
10
     disabled parking signage is not present and others park improperly. Additionally,
11
     Defendants failed to provide the required accessible path of travel from the parking
12
     area to the leasing office since the existing path of travel has step changes in level
13
     and slopes that exceed the maximum permitted. Additionally, Defendants overt and
14
     obvious communication barriers were also present at the leasing office in June, 2024,
15
     and on a second subsequent date. Defendants failed to provide any method of text
16
     communication with their leasing office and failed to publish any information as to
17
     how to initiate text communication contact. The Named Individual Plaintiff had
18
     actual knowledge of these barriers at Defendants’ Property that Plaintiff intended to
19
     visit, and the Named Individual Plaintiff was deterred from accessing Defendants’
20
     leasing office at the Property again in August, 2024. See Property photos in Exhibit
21
     B and Exhibit C.
22
     26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
23
     Defendants’ rental services at Defendants’ property and Defendants’ websites are
24
     fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
25
     other people with disabilities. Plaintiff Club, its Club members, and the named
26
     Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
27
     conditions, and they are currently deterred from attempting further access until the
28

                      13
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 1
     barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
 2
     return to Defendants’ Property and Defendants websites at the end of this action to
 3
     obtain rental services, and to verify that the communication and architectural barriers
 4
     are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
 5
     Club has numerous members residing near Defendants Property. Plaintiff Club’s
 6
     members have actual knowledge of the discriminatory conditions as alleged herein
 7
     when the Plaintiff Club investigated the Property and the rental services and
 8
     determined that the Club members would not be able to use the rental services due to
 9
     the discriminatory conditions. Therefore, Plaintiff Club members were and are
10
     deterred from visiting the properties. Plaintiff Members were not required to
11
     actually visit the properties. See Civil Rights Education & Enforcement Center v.
12
     Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
13
     Plaintiff Cub did visit and attempt to access Defendants’ rental services at
14
     Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans
15
     to visit at the conclusion of this case to obtain rental information and to verify the
16
     Defendants ceased its discriminatory conduct by removing communication and
17

18
     physical barriers to access to the rental services.

19

20
      DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –

21
     FAIR HOUSING ACT CLAIMS
     27.   FHA Standing:
22
           Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
23
     complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
24
     3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
25
     named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
26
     named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
27

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 1
     other relief as hereinafter stated. The Federal Fair Housing Act applies to
 2
     Defendants’ apartment complex since it has more than 4 residential units. FHA
 3
     standing is substantially broader than standing under the ADA due to the critically
 4
     important need of adequate availability of housing for the disabled. A potential
 5
     plaintiff is not even required to have an interest in renting a particular property or
 6
     dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
 7
     F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
 8
     claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
 9
     whether or not the target of the discrimination, can sue to recover for his or her own
10
     injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
11
     34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
12
     actually been denied to persons protected under the Act.” San Pedro Hotel v City of
13
     Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
14
     Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
15
     and that the named Plaintiffs suffered monetary and other damages as a result. The
16
     named Plaintiffs seek injunctive relief as well as damages, both of which are
17
     available under 42 USC § 3613(c). Assuming arguendo in the present case, that
18
     prospective injunctive relief was not available to Plaintiffs due to mootness or
19
     otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
20
     damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
21
     Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
22
     Thousand (3000) miles away and her injunctive claims became moot. However,
23
     Plaintiff’s claim for damages survived and was not affected]. In the present case,
24
     while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
25
     above Ninth Circuit Harris court authority makes it clear that those prudential
26
     standing requirements for injunctive relief are not applicable to Plaintiffs FHA
27
     damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
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 1
     prospective injunctive relief is not available. The present Plaintiff Club has
 2
     organization standing separately on its own under the FHA. Additionally, under the
 3
     FHA, Plaintiff Club has associational standing to assert its Club member claims
 4
     since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
 5
     Club and the named Individual Plaintiff have standing with respect to the following
 6
     FHA claims.
 7

 8
     CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
 9
     Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
10
     Train Staff, And Failure To Make The Policy Known To The Plaintiffs
11
     28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
12
     complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
13
     this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
14
     rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
15
     because of a handicap of (A) that buyer or renter; (B) a person residing in or
16
     intending to reside in that dwelling after it is so sold, rented, or made available; or…
17
     §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
18
     v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
19
     scheme permits disparate impact claims, and those type of claims do not require
20
     intent]. due to Defendants’ communication and architectural barriers, Defendants
21
     discriminated against Plaintiffs by failing to have a policy, practice, or method for
22
     Plaintiffs to make a reasonable accommodation request for equal access to their
23
     rental services on their website or at their Property. Defendants have an affirmative
24
     duty to have a policy, process to receive such accommodation requests and to
25
     respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
26
     2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
27

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 1
     discrimination.
 2

 3
     CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
 4
     Housing Act And California Fair Employment And Housing Act
 5
     29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 6
     complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
 7
     section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
 8
     engage in a good-faith interactive process to determine and to implement effective
 9
     reasonable accommodations so that Plaintiffs could gain equal access Defendants’
10
     rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
11
     services both on or off the property and apartments.
12
     CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
13
     30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
14
     complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
15
     this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
16
     discriminate against any person in the terms, conditions, or privileges of sale or
17
     rental of a dwelling, or in the provision of services or facilities in connection with
18
     such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
19
     above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
20
     prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
21
     named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
22
     services located on the Property or off-site are “services” in connection with the
23
     rental of a dwelling and the on-site or off-site rental services provided fall within the
24
     FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
25
     failure to remove communication and architectural barriers to permit access to
26
     Defendant’s on-site rental services contained is a separate, independent, actionable
27
     violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
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 1
     predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
 2
     physical barriers to access its rental services provided at the property. See ¶¶25 -26.
 3
     The 9th Circuit Smith court stated that the mere observation of overt architectural
 4
     barriers is actionable. Smith at 1104 [“To read an additional standing requirement
 5
     into the statute beyond mere observation, however, ignores that many overtly
 6
     discriminatory conditions, for example, lack of a ramped entryway, prohibit a
 7
     disabled individual from forming the requisite intent or actual interest in renting or
 8
     buying for the very reason that architectural barriers prevent them from viewing the
 9
     whole property in the first instance” (emphasis in original)]. The Smith court found
10
     Defendants liable under this FHA subsection even though that case did not involve
11
     ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
12
     observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
13
     Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
14
     had actual knowledge of Defendants’ communication and architectural barriers and
15
     Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
16
     services located thereon. Defendants also discriminated against Plaintiffs by failing
17
     to modify its practices and policies to provide access via other methods of access to
18
     its rental services located on or off the property site. Defendant’s failure to remove
19
     the architectural and communication barriers to access its facilities and the rental
20
     services located thereon, or failure to provide an accommodation to provide methods
21
     of alternate access to their rental services, constitutes the prohibited discrimination,
22
     separately and independently. Additionally, Defendant’s conduct is also prohibited
23
     under ADA Title III and constitutes a second, separate, independent source of
24
     discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
25
     discriminatory conduct involves Defendants’ rental facilities and its rental services
26
     located therein, Plaintiffs assert any discriminatory conduct found in violation of
27
     ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
28

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 1
     CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
 2
     31.   Plaintiffs do not make any claim against Defendants for a failure to “design
 3
     and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
 4
     above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
 5
     Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
 6
     that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
 7
     to make reasonable accommodations in rules, policies, practices, or services, when
 8
     such accommodations may be necessary to afford such person equal opportunity to
 9
     use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
10
     Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
11
     repeated written and other requests for an accommodation to have equal access to its
12
     rental services.
13
     CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
14
     32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
15
     elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
16
     the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
17
     respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
18
     Defendants discriminated against them when Defendants made, printed, or
19

20
     published, or caused to be made printed, or published notices, statements, or

21
     advertisements (“NSA”) that suggest to an ordinary reader a preference to attract

22
     tenants without disabilities. Defendants' Internet advertising regarding its rental

23
     services has an unlawful disparate impact on Plaintiffs.

24
     SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
25
     33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
26

27
     Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and

28

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 1
     elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
 2
     reasonable accommodations in rules, policies, practices, or services in violation of
 3
     CA Government Code sections 12927 and 12955.2, when these accommodations
 4
     may be necessary to afford a disabled person equal opportunity to use and enjoy
 5
     Defendants’ rental services. As stated in detail above, Defendants refused to make
 6
     reasonable accommodations with the instant Plaintiffs and discriminated against each
 7
     of them on the basis of disability.
 8

 9
     THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
10
     The Americans With Disabilities Act Of 1990
11
     34.   ADA Standing:
12
           ADA Title III does cover public and common use areas at housing
13
     developments when these public areas are, by their nature, open to the general
14
     public. An office providing rental services is open to the general public. (See U.S.
15
     Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
16
     Illustration 3, office on or off the site covered). The parking and paths of travel to
17
     the office on or off the site are also covered. See Section III–1.2000, ADA Title III
18
     Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
19
     3: A private residential apartment complex contains a office on or off the site. The
20
     office on or off the site is a place of public accommodation”). See Kalani v Castle
21
     Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
22
     Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
23
     (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
24
     present case, the named Plaintiffs have also sufficiently alleged that Defendants
25
     provide rental services at the property. Following prior sister Circuit Courts of
26
     Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
27
     can be only a “tester” and have standing. See Civil Rights Education & Enforcement
28

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 1
     Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
 2
     Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
 3
     motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
 4
     does not require a Plaintiff to have a personal encounter with the barrier to equal
 5
     access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
 6
     Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
 7
     and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
 8
     1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
 9
     Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
10
     Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
11
     present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
12
     that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
13
     and regulations as detailed further in the ADA claims stated below. As a result, the
14
     named Plaintiffs have each suffered injury and each seek only injunctive and
15
     declaratory relief pursuant to their ADA Claims.
16
     CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
17
     35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
18
     may be necessary to ensure that no individual with a disability is excluded, denied
19
     services, segregated or otherwise treated differently than other individuals because of
20
     the absence of auxiliary aids and services, unless the entity can demonstrate that
21
     taking such steps would fundamentally alter the nature of the good, service, facility,
22
     privilege, advantage, or accommodation being offered or would result in an undue
23
     burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
24
     complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
25

26
     violated said provision. Plaintiffs set forth the factual basis for this claim most

27
     specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

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 1
     of public accommodation, not services in a place of public accommodation. To limit
 2
     the ADA to discrimination in the provision of services occurring on the premises of a
 3
     public accommodation would contradict the plain language of the statute.” Nat’l
 4
     Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
 5
     (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
 6
     1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
 7
     provides, it cannot discriminate on the basis of disability in providing enjoyment of
 8
     those goods and services”]). An ADA plaintiff may challenge a business’ online
 9
     offerings as well. So long as there is a “nexus”—that is, “some connection between
10

11
     the good or service complained of and an actual physical place”—a plaintiff may

12
     challenge the digital offerings of an otherwise physical business. See Gorecki v.

13
     Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:

14
     CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
15   communication to the instant Plaintiffs and to people with disabilities. In the
16   present case, Plaintiffs experienced and have knowledge that Defendants failed to
17   have a required procedure to provide effective communication. Plaintiffs allege that
18   Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
19   did not provide any auxiliary aid and the Defendants did not provide any reasonable
20   accommodation to the overt and obvious communication barriers, and failed to
21   respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
22   Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
23   ADA law allows the Defendants to decide what auxiliary aid and reasonable
24   accommodation will be provided. In this case, however, Defendants failed to
25   provide any reasonable accommodation for the overt and obvious communication
26   barriers to equal access to their rental services, failed to provide any auxiliary aid,
27   and failed to provide any effective communication. Plaintiffs allege that Defendants’
28

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 1
     websites provide a contact number for the general public, but Defendants failed to
 2
     provide Plaintiffs with the required effective communication using texting or other
 3
     alternate means of communication for Plaintiffs and other people with a deaf
 4
     condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
 5
     Club’s members that have hearing disabilities and Club’s members with speech
 6
     disabilities. Defendants are required to provide, on Defendants’ websites, to provide
 7
     a method to effectively communicate with Plaintiff Club members that have hearing
 8
     and speech disabilities, and other people that are deaf or have speech impairments.
 9
     CLAIM II: Denial of Participation
10

11
     36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to

12
     subject an individual or class of individuals on the basis of a disability or disabilities

13
     of such individual or class, directly, or through contractual, licensing, or other

14
     arrangements, to a denial of the opportunity of the individual or class to participate in

15   or benefit from the goods, services, facilities, privileges, advantages, or
16   accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
17   elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
18   Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
19   most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
20   violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
21   CLAIM III: Participation in Unequal Benefit
22   37.   Defendants provide unequal benefit for people with disabilities in violation of
23   42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
24   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
25   believe, and thereon allege that Defendants discriminated against Plaintiffs in
26   violation of said provision. Plaintiffs set forth the factual basis for this claim most
27   specifically at ¶¶ 20-24 above.
28

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 1
     CLAIM IV: Separate Benefit
 2
     38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
 3
     United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
 4
     plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
 5
     believe, and thereon allege that Defendants discriminated against Plaintiffs in
 6
     violation of said provision. Plaintiffs set forth the factual basis for this claim most
 7
     specifically at ¶¶ 20-24 above.
 8

 9
     CLAIM V: Integrated Settings
10

11
     39.   Defendants’ rental services are not integrated for Plaintiffs and people with

12
     disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §

13
     12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

14
     Plaintiffs are informed, believe, and thereon allege that Defendants discriminated

15   against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
16   for this claim most specifically at ¶¶ 20-24 above.
17
     CLAIM VI: Failure To Modify Practices, Policies And Procedures

18
     40.   Defendants failed and refused to provide a reasonable alternative by

19
     modifying its practices, policies, and procedures in that they failed to have a scheme,
20   plan, or design to accommodate Plaintiff Club, its Club members, the individual
21   named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
22   services, at its websites and at the Property, in violation of 42 United States Code
23   12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
24   above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
25   allege that Defendants discriminated against Plaintiffs in violation of said provision.
26   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
27   CLAIM VII: Failure To Remove Architectural And Communication Barriers
28

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 1
     41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
 2
     communication barriers as required in violation of 42 United States Code
 3
     12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
 4
     above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 5
     allege that Defendants discriminated against the named Individual Plaintiff in
 6
     violation of said provision. Plaintiffs set forth the factual basis for this claim most
 7
     specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
 8
     reviewed all the information and photographs of Defendants’ property. As a result,
 9
     the named Individual Plaintiff has actual knowledge of the physical and
10
     communication barriers that exist at Defendants’ Property. The named Individual
11
     Plaintiff determined that the physical barriers that exist at Defendants’ property,
12
     directly relate to his disabilities, and make it impossible or extremely difficult for
13
     him to physically access Defendants’ rental services at the Property. The named
14
     Individual Plaintiff was deterred by his actual knowledge of the physical and
15
     communication barriers that exist at Defendants’ Property which include but are not
16
     limited to the barriers to facilities and services for disabled parking, exterior path of
17
     travel to the rental services at the property, entrance and interior, since said
18
     Defendants’ facilities and rental services were not accessible because they failed to
19
     comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
20
     Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
21
     Plaintiff had actual knowledge of these barriers and determined that it would be
22
     futile gesture for him to go to the Property on the date that he had originally
23
     intended. The named Individual Plaintiff is currently deterred from returning due to
24
     his knowledge of the barriers. At the end of this action, the named Individual
25
     Plaintiff intends to return to Defendants’ property or off the site location to obtain
26
     rental information and verify that the communication and physical barriers to
27
     Defendants’ rental services are removed. Defendants failure to remove the barriers
28

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 1
     to equal access constitutes discrimination against the named Individual Plaintiff.
 2
     CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
 3
     42.   Defendants are required to make alterations to their facilities in such a manner
 4
     that, to the maximum extent feasible, the altered portions of the facility are readily
 5
     accessible to and usable by individuals with disabilities, including individuals who
 6
     use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
 7
     26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
 8
     and thereon allege that Defendants violated this provision. Plaintiffs allege that
 9
     Defendants altered their facility in a manner that affects or could affect the usability
10
     of the facility or a part of the facility after January 26, 1992. In performing the
11
     alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
12
     manner that, to the maximum extent feasible, the altered portions of the facility are
13
     readily accessible to and usable by individuals with disabilities, including individuals
14
     who use devices, in violation of 42 U.S.C. §12183(a)(2).
15
     CLAIM IX: Administrative Methods
16

17
     43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract

18
     with website providers without making sure that the websites will be accessible to

19
     people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42

20
     U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this

21
     complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
22   discriminated against the named Individual Plaintiff in violation of said provision.
23   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
24   CLAIM X: Screen Out
25   44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
26   out Plaintiffs and other people with disabilities in violation of 42 United States Code
27   12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
28

                      26
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 1
     above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 2
     allege that Defendants discriminated against the named Plaintiffs in violation of said
 3
     provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
 4
     - 26 above. Defendants screened out the named Plaintiffs from its rental services and
 5
     processes, because Defendants failed to remove architectural and communication
 6
     barriers to its website and property, failed to provide required effective alternate
 7
     communication methods, and failed to provide required auxiliary aids.
 8

 9
     CLAIM XI: Denial Of Full And Equal Access
10
     45.   Defendants are required to provide full and equal access to Defendants' rental
11
     services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
12
     United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
13
     8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
14
     thereon allege that Defendants discriminated against the named Plaintiffs in violation
15
     of said provision. Plaintiffs set forth the factual basis for this claim most specifically
16
     at ¶¶ 8 - 26 above.
17

18
     CLAIM XII: Failure To Investigate And Maintain Accessible Features
19

20
     46.    Defendants made repairs and administrative changes which violated ADA and

21
     its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible

22
     features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
23   Defendants failed to provide and then maintain any accessible features in its parking,
24   path of travel, on or off the property site for rental services and website rental
25   services. Plaintiffs are informed, believe, and thereon allege that Defendants
26   discriminated against the named Plaintiffs in violation of this provision.
27
     CLAIM XIII: Association
28

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 1
     47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 2
     Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 3
     against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
 4

 5         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
 6          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
 7   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
 8                                   ACCESSIBILITY LAWS
 9   CLAIM I: Denial Of Full And Equal Access
10   48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
11   named Individual Plaintiff was denied full and equal access to Defendants' goods.
12   services, facilities, privileges, advantages, or accommodations within a public
13   accommodation owned, leased, and/or operated by Defendants as required by Civil
14   Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
15   18-28 above.
16   CLAIM II: Failure To Modify Practices, Policies And Procedures
17   49.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
18   the named Individual Plaintiff was denied full and equal access to Defendants' goods.
19   Defendants failed and refused to provide a reasonable alternative by modifying its
20   practices, policies, and procedures in that they failed to have a scheme, plan, or
21   design to assist Plaintiff Members and/or others similarly situated in entering and
22   utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
23   this claim is at 18-28 above.
24   CLAIM III: Violation Of The Unruh Act
25   50.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
26   the individual, the named Individual Plaintiff was denied full and equal access to
27   Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
28

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 1
     failing to comply with Civil Code §51(f). Defendants' facility violated state
 2
     disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
 3
     Building Code by failing to provide equal access to Defendants’ facilities.
 4
     Defendants did and continue to discriminate against Plaintiff Members in violation
 5
     of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
 6
                Treble Damages Pursuant To California Accessibility Laws
 7
     51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 8
     only the named Individual Plaintiff prays for an award of treble damages against
 9
     Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
10
     54.3(a). Defendants, each of them respectively, at times prior to and including the
11
     day the named Individual Plaintiff attempted patronized Defendants’ facilities and
12
     rental services, and continuing to the present time, knew that persons with physical
13
     disabilities were denied their rights of equal access. Despite such knowledge,
14
     Defendants, and each of them, failed and refused to take steps to comply with the
15
     applicable access statutes; and despite knowledge of the resulting problems and
16
     denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
17
     and each of them, have failed and refused to take action to grant full and equal access
18
     to the individual Plaintiff in the respects complained of hereinabove. Defendants,
19
     and each of them, have carried out a course of conduct of refusing to respond to, or
20
     correct complaints about, denial of disabled access and have refused to comply with
21
     their legal obligations to make Defendants’ public accommodation facilities and
22
     rental services accessible pursuant to the ADAAG and Title 24 of the California
23
     Code of Regulations (also known as the California Building Code). Such actions
24
     and continuing course of conduct by Defendants in conscious disregard of the rights
25
     and/or safety of the named Individual Plaintiff justify an award of treble damages
26
     pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
27

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 1
                         DEMAND FOR JUDGMENT FOR RELIEF:
 2
     A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
 3
     42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
 4
     pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
 5
     this court to enjoin Defendants to cease their discriminatory practices in housing
 6
     rental services, rental housing management services, and for Defendants to
 7
     implement written policies and methods to respond to reasonable accommodation
 8
     and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
 9
     request this Court enjoin Defendants to remove all barriers to equal access to the
10
     disabled Plaintiffs in, at, or on their facilities, including but not limited to
11
     architectural and communicative barriers in the provision of Defendants’ rental
12
     services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
13
     Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
14
     not seek any relief at all pursuant to Cal. Civil Code §55.
15
     B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
16
     However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
17
     damages on behalf of its members;
18
     C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
19
     to Cal. Civil Code §§ 52 or 54.3;
20
     D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
21
     damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
22
     51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
23
     E.     In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
24
     C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
25
     damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
26
     § 54.1;
27
     F.     All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
28

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 1
     U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
 2
     G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
 3
     Civil Code §§ 52(a) or 54.3(a);
 4
     H.    The named Plaintiffs are seeking perspective injunctive relief to require the
 5
     Defendants to provide obvious reasonable accommodations, to provide the required
 6
     auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
 7
     Defendants in the provision of Defendants’ rental services. Without perspective
 8
     relief the Plaintiffs will suffer future harm.
 9
     I.    All named Plaintiffs seek a Jury Trial and;
10
     J.    For such other further relief as the court deems proper.
11

12   Respectfully submitted:
13
                                                      LIGHTNING LAW, APC
14
     Dated: August 2, 2024
15
                                              By:     /s/David C. Wakefield
16                                                    DAVID C. WAKEFIELD, ESQ.
17
                                                      Attorney for Plaintiffs

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